                                                                                        04/18/2019


                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF VIRGINIA
                                   CHARLOTTESVILLE DIVISION



  UNITED STATES OF AMERICA                           CASE NO. 3:18-cr-00018


                       v.                            MEMORANDUM OPINION


  ERSY ALEJANDRO HERNANDEZ,                          JUDGE NORMAN K. MOON
                                    Defendant.



         This matter is before the Court upon Defendant Ersy Alejandro Hernandez’s

 (“Hernandez”) motions to dismiss the indictment. (Dkts. 30, 37). On August 22, 2018,

 Hernandez was indicted on one count of illegal reentry in violation of 8 U.S.C. § 1326(a). (Dkt.

 1). In his first motion to dismiss the indictment, Hernandez seeks to collaterally attack the

 underlying deportation order as fundamentally unfair, contending that his waiver of

 constitutional rights, executed through a stipulation order, was not knowing and voluntary. (Dkt.

 30). In his second motion, Hernandez argues that the indictment must be dismissed under

 Pereira v. Sessions, 138 S.Ct. 2105 (2018) because the notice to appear he received did not

 contain the time and date of his deportation proceeding. (Dkt. 37). For the reasons that follow,

 Hernandez’s first motion will be granted, and his second motion will be denied as moot.

                                      I.      Factual Background

        Hernandez first encountered police and was arrested for trafficking methamphetamine on

 January 12, 2010. (Dkt. 30 at 1). Three days later, Hernandez was arrested and detained by the

 Department of Homeland Security (“DHS”). (Id.). That same day, Hernandez was provided

 with notice of his rights and indicated he wanted a hearing with an Immigration Judge (“IJ”).

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 (Dkt. 30-3). An immigration officer signed a certification of service indicating that she read the

 notice to Hernandez in Spanish. (Id.). While Hernandez was in DHS custody, he was indicted in

 South Carolina for distribution of methamphetamine. (Dkt. 30 at 1). On February 1, 2011,

 Hernandez pled guilty to simple possession of methamphetamine and was sentenced to time

 served. (Id.).

        Two days after he entered a guilty plea, Hernandez was issued a notice to appear for

 removal proceedings. (Id.). The notice to appear stated that Hernandez was not a citizen of the

 United States, that he was a native of Honduras, and that he had not legally entered the United

 States. (Dkt. 30-4). The notice to appear further ordered Hernandez to appear before an IJ “at

 146 CCA Road Lumpkin Georgia US 31815 on a date to be set [and] at a time to be set.” (Id.;

 dkt. 37-1).

        On February 25, 2011, Hernandez signed a stipulation containing numerous statements in

 both English and Spanish. (Dkt. 30-5). The stipulation included statements indicating that

 Hernandez understood his right to a hearing before an IJ and to be represented by an attorney or

 other representative. (Id.). The stipulation further stated that Hernandez wished to proceed

 without an attorney, and that he understood that, by signing the document, he was giving up his

 right to a hearing, the right to question witnesses or present evidence, and the right to appeal the

 IJ’s decision. (Id.). Finally, Hernandez checked a box indicating that the stipulation had been

 read to him in Spanish. (Id.).

        On March 3, 2011, an attorney for Immigration and Customs Enforcement (“ICE”),

 moved for an entry of an order of removal as to Hernandez based on the signed stipulation.

 (Dkts. 30, 30-6). Four days later, an IJ signed an order stating that “[u]pon consideration of the

 evidence submitted with the Motion, and based on the respondent’s admission of the factual



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 allegations and the concession to the charge[s], the Court finds the respondent removable from

 the United States as charged.” (Dkts. 30, 30-7). On March 28, 2011, Hernandez was removed

 from the United States. (Dkt. 31-1). Approximately seven years later, on March 23, 2018,

 Hernandez was arrested in the United States on state charges. (Dkt. 32). While in state custody,

 Hernandez was encountered by ICE officers. (Id.). On August 22, 2018, Hernandez was

 charged with illegal reentry in violation of 8 U.S.C. § 1326(a). (Id.). His state charges remain

 pending. (Id.).

                                          II.     Legal Standard

        Criminal defendants may allege defects in indictments in pretrial motions, including “(i)

 joining two or more offenses in the same count (duplicity); (ii) charging the same offense in

 more than one count (multiplicity); (iii) lack of specificity; (iv) improper joinder; and (v) failure

 to state an offense.” Fed. R. Crim. P. 12(b)(3)(B). An indictment must contain a “plain, concise

 and definite written statement of the essential facts constituting the offense charged.” Fed. R.

 Crim. P. 7(c)(1). See also United States v. Daniels, 873 F.2d 272, 274 (4th Cir. 1992) (“An

 indictment must contain the elements of the offense charged, fairly inform a defendant of the

 charge, and enable the defendant to plead double jeopardy as a defense in a future prosecution

 for the same offense.”). A reviewing court “should regard all well pleaded facts as true when

 considering a motion to dismiss an indictment.” United States v. Dove, 70 F.Supp.2d 634, 636

 (W.D. Va. 1999). A court should not dismiss an indictment on the basis of “facts that should” be

 “developed at trial.” United States v. Engle, 676 F.3d 405, 415 (4th Cir. 2012). Rather, motions

 to dismiss indictments should generally be denied unless “the allegations therein, even if true,

 would not state an offense.” United States v. Thomas, 367 F.3d 194, 197 (4th Cir. 2004).




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        Collateral attacks of deportation orders are authorized where, as here, those orders are

 necessary to establish an element of the charged illegal reentry offense. 1 See United States v.

 Mendoza-Lopez, 481 U.S. 828, 837–38 (1987) (review of deportation proceeding must be “made

 available in any subsequent proceeding in which the result of the deportation proceeding is used

 to establish an element of a criminal offense”). Under § 1326(d), a defendant mounting a

 collateral attack against an underlying deportation order must show that (1) he “exhausted any

 administrative remedies that may have been available to seek relief against the order”; (2) the

 deportation proceedings “at which the order was issued improperly deprived” him of the

 “opportunity for judicial review”; and (3) entry of the order was “fundamentally unfair.” If a

 “defendant satisfies all three requirements, the illegal reentry charge must be dismissed as a

 matter of law.” United States v. El Shami, 434 F.3d 659, 663 (4th Cir. 2005).

                                             III.       Argument

        The Court will address each of Hernandez’s motions to dismiss the indictment in turn,

 beginning with Hernandez’s first motion to dismiss seeking to collaterally attack the underlying

 deportation order.

        A.      Hernandez’s First Motion to Dismiss – § 1326(d) Collateral Attack

        Hernandez claims that his waiver of rights was fundamentally unfair because it was not

 found to be knowing, voluntary, or intelligent, in violation of his Fifth Amendment right to due

 process of law and that the IJ’s failure to make such a finding violated the controlling



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         The elements of illegal reentry under 8 U.S.C. § 1326 are as follows: (1) the defendant
 “has been denied admission, excluded, deported, or removed or has departed the United States
 while an order of exclusion, deportation, or removal is outstanding”; and (2) the defendant
 thereafter “enters, attempts to enter, or is at any time found in the United States” without express
 advance consent from the Attorney General. 8 U.S.C. § 1326(a). The Fourth Circuit has
 recognized that a valid “deportation order is an element of the offense of illegal reentry.” United
 States v. El Shami, 434 F.3d 659, 663 (4th Cir. 2005).
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 regulations. Hernandez further claims that, because the waiver was fundamentally unfair, he was

 denied judicial review and is excused from the exhaustion requirement. Because Hernandez’s

 arguments regarding exhaustion and judicial review hinge on the issue of fundamental fairness,

 the Court will first examine whether the waiver was fundamentally unfair.

         1.          Fundamental Unfairness

         “To demonstrate fundamental unfairness a defendant must show that (1) his due process

 rights were violated by defects in his underlying deportation proceeding, and (2) he suffered

 prejudice as a result of the defects.” El Shami, 434 F.3d at 664. Hernandez claims that his due

 process rights were violated in two ways. First, Hernandez contends that his waiver was not

 knowing, voluntary and intelligent “because there was no finding by the IJ that this waiver” met

 those requirements. (Dkt. 30 at 6–7). Second, Hernandez contends that in failing to make such a

 finding, the IJ did not meet the requirements of the underlying regulations.         (Id.   at 7).

 Hernandez claims that he suffered prejudice as a result of both of these alleged deficiencies

 because, “if [he] had counsel, or appeared before the IJ, he would have been advised about the

 possibility of voluntary departure. And there is a reasonable probability he would have received

 it.” (Id. at 9).

                    i.   Due Process

         Hernandez claims that his signature on the stipulation was not a valid waiver of his right

 to due process because the IJ did not make an explicit finding that the waiver was knowing,

 voluntary, and intelligent. The Government argues that an implicit finding by the IJ is sufficient

 to comport with due process, and that the IJ made such a finding when he deemed Hernandez

 removable after “consideration of the evidence submitted with” the motion for deportation.

 (Dkt. 30-7). The Government’s argument is not persuasive.



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         “It is well established that the Fifth Amendment entitles aliens to due process of law in

 deportation proceedings.” Demore v. Kim, 538 U.S. 510, 523 (2003) (internal quotations

 omitted). “More specifically, due process requires an alien who faces removal be provided (1)

 notice of the charges against him, (2) a hearing before an executive or administrative tribunal,

 and (3) a fair opportunity to be heard.” El Shami, 434 F.3d at 665 (alterations and quotations

 omitted).   Additionally, “Congress has recognized [the right to counsel] among the rights

 stemming from th[is] Fifth Amendment guarantee of due process.” Tawdrus v. Ashcroft, 364

 F.3d 1099, 1103 (9th Cir. 2004). See 8 U.S.C. § 1362 (establishing the right to counsel “in any

 removal proceedings before an immigration judge and in any appeal proceedings before the

 Attorney General from any such removal proceedings”).           However, “defendants can waive

 fundamental constitutional rights. . .” United States v. Marin, 961 F.3d 493, 496 (4th Cir. 1992);

 see also United States v. Lopez, 84 F.Supp.3d 482, 486 (W.D.N.C. Feb. 3, 2015) (noting, in the

 context of a removal hearing, that “federal courts routinely allow criminal defendants to waive

 any number of constitutional rights”). Such waivers must be a “knowing, intelligent act done

 with sufficient awareness of the relevant circumstances.” Iowa v. Tovar, 541 U.S. 77, 81 (2004)

 (internal alterations and quotations omitted).

         In the deportation context, 8 U.S.C. § 1229a(d) authorizes the waiver of rights in the form

 of stipulated orders that “constitute a conclusive determination of the alien’s removability from

 the United States.” In furtherance of this authorization, ICE adopted a regulation that allows an

 IJ to enter an order of deportation based on such a waiver. See 8 C.F.R. § 1003.25(b). In

 relevant part, the regulation states:

         An [IJ] may enter an order of deportation . . . without a hearing and in the absence
         of the parties based on a review of the charging document, the written stipulation,
         and supporting documents, if any. If the alien is unrepresented, the [IJ] must
         determine that the alien’s waiver is voluntary, knowing, and intelligent . . . A

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        stipulated order shall constitute a conclusive determination of the alien’s
        deportability or removability from the United States. The Stipulation shall
        include: . . . A statement that the alien understands the consequences of the
        stipulated request and that the alien enters the request voluntarily, knowingly, and
        intelligently.

 8 C.F.R. § 1003.25(b)(6). When considering whether due process was sufficient where a non-

 citizen signed a stipulated order, other courts have considered the language of the waiver, the

 characteristics of the defendant, and contractual principles. See Lopez, 84 F.Supp.3d at 487. The

 Court will undertake a similar fact-specific inquiry to determine whether the requirements of due

 process were met in this case.

        At least one court has found that a signed stipulation order comported with due process

 despite the IJ’s failure to explicitly find that the defendant’s waiver was knowing and voluntary.

 See United States v. Cordova-Soto, 804 F.3d 714, 720–21 (5th Cir. 2015). In Cordova-Soto, the

 Fifth Circuit held that notice of the charges, information regarding rights, and a signed

 stipulation was “ample constitutional protection,” even where the defendant “correctly

 contend[ed] that the IJ failed to expressly find that [the defendant’s] waiver was voluntary,

 knowing, and intelligent” as required by the regulation. Id. at 720–21. The Fifth Circuit stated

 that where “the record demonstrated that an INS agent gave [the defendant] notice of the charges

 against him and that the agent explained to him that he had a right to a hearing to contest the

 charges,” the defendant’s waiver comported with due process despite the IJ’s failure to make an

 explicit finding that the waiver was knowing and voluntary. Id. (internal citations omitted).

        The Fifth Circuit also noted the district court’s conclusion that “the record evidence

 support[ed] an implicit finding that [the defendant’s] waiver was knowing and voluntary.” Id.

 In upholding that conclusion, the Fifth Circuit specifically noted the district court’s findings that

 (1) the defendant had lived in the United States since she was an infant and spoke fluent English;



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 (2) the waiver was written in plain, “non-legalese” language; (3) the record demonstrated that the

 immigration officer had explained the provisions in the form and the rights the defendant was

 waiving; and (4) the IJ’s acceptance of the waiver supported “an implicit finding that the IJ

 determined the waiver was knowing and voluntary.” Id.

        Similarly, at least one district court in the Fourth Circuit has held that a contested

 stipulation order was signed knowingly and voluntarily where the IJ made an explicit finding to

 that effect. See Lopez, 84 F.Supp.3d at 488. In Lopez, the defendant signed a waiver of rights,

 and an IJ “issued his ‘Decision and Order’ . . . finding that such waiver was knowing, voluntary,

 and intelligent, and further concluding that the allegations of the charging document were true

 based on defendant’s waiver.” Id. at 486. The defendant had been in the United States since the

 age of five, attained a high school diploma, and taken college level courses while previously

 incarcerated. Id. at 497. Additionally, that court noted that, through the waiver, the defendant

 represented that he could “unequivocally state that [he had] submitted this Stipulated Request

 voluntarily, knowingly, and intelligently.” Id. (internal quotations omitted). After considering

 the language of the waiver “alongside the characteristics and educational achievement of the

 defendant, the court [was] convinced that defendant’s waiver was valid.” Id.

        By contrast, the Ninth Circuit has found stipulation orders to be in violation of due

 process despite an IJ’s explicit finding that the waiver was knowing, voluntary, and intelligent.

 See, e.g., United States v. Gomez, 757 F.3d 885,898 (9th Cir. 2014).        In Gomez, the Ninth

 Circuit stated that the IJ could not have made such a finding “based on the evidence before him.”

 Id. The Court noted that the defendant “did not understand the stipulated proceeding,” received

 an en masse reading of the stipulation, and did not receive an individualized explanation from the

 immigration officer. Id. These proceedings were found to have “violated [the defendant’s] right



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 to due process by obtaining an invalid waiver of rights,” and did not support the IJ’s finding to

 the contrary.    Id.   Ultimately, the Ninth Circuit found that the defendant had met the

 requirements of § 1326(d)(1) to collaterally attack the validity of his deportation “on the basis of

 both his invalid waiver of the right to appeal the deportation order and the IJ’s regulatory

 violation.” Id.; see also United States v. Ramos, 623 F.3d 672, 681 (9th Cir. 2014) (finding that

 where a defendant had a hearing before an IJ his waiver of rights was nonetheless invalid

 because the record did not establish that the waiver was knowing or intelligent).

        Here, the stipulation was signed three weeks after an immigration officer reported that

 Hernandez “stated that he w[ould] not sign a Stipulated Removal, and ha[d] requested a hearing

 before an Immigration Judge.” (Dkt. 35-3 at 2). In that same report, the immigration officer

 recommended that Hernandez be “processed as an I-862 NTA.” (Id.). I-862 is the standard

 notice to appear that would result in a hearing before an IJ rather than stipulated removal. (Dkt.

 35 at 3 (referencing 8 U.S.C. § 1229(a))). This marked the second time since being in custody

 that Hernandez requested a hearing before an IJ.           (Dkts. 35-2, 35 at 3 (citing a signed

 Notification de Derechos, requesting a hearing with an IJ)).           However, three weeks later

 Hernandez signed a stipulation that was read to him in Spanish. (Dkt. 30-5). Spanish is

 Hernandez’s native language, but he did not check the box on the stipulation form indicating he

 is capable of reading Spanish. (Id.). The stipulation stated: “I have been advised that by signing

 this Stipulation, I will be giving up the following legal rights and privileges,” including “the right

 to be represented in removal proceedings by an attorney or authorized representative.” (Id. at 1–

 2). The stipulation also stated that Hernandez had been advised of the rights associated with a

 hearing, and that he would be giving them up. (Id. at 2). Additionally, the stipulation indicated

 that it would “be made part of the record for the [IJ] to review.” (Id. at 5). A contemporaneous



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  certification stating that an ICE officer had read the document to Hernandez was included with

  the stipulation. (Id. at 7).

          The parties dispute whether the stipulation Hernandez signed contained language that the

  waiver was voluntary, knowing, and intelligent as required by 8 C.F.R. §1003.25(b)(6). The

  Government argues that this language was included in the portion of the stipulation read to

  Hernandez, relying on a section in the document that states “I voluntarily, knowingly, and

  intelligently submit this request for an order of removal, as demonstrated by my initials on each

  page and my signature.” (Dkt. 30-5 at 6). Hernandez argues that this language is contained in

  subsection 17C and does not apply to him because he checked the box for subsection 17A. (Dkt.

  35 at 5). The Government contends that this language applies to each subsection of paragraph

  17.

          “When considering representations made in a waiver, courts interpret the terms of the

  waiver in accordance with traditional principles of contract law.” Lopez, 84 F.Supp at 496

  (citing United States v. Davis, 714 F.3d 809, 814–15 (4th Cir. 2013)). Where an agreement

  implicates a defendant’s constitutional rights, the courts analyze it “with greater scrutiny than we

  would apply to a commercial contract,” and the Government is held to a “greater degree of

  responsibility than the defendant . . . for imprecision or ambiguities.” Davis, 714 F.3d at 814–15

  (internal quotations omitted). Here, the stipulation Hernandez signed is facially ambiguous with

  respect to the formatting of the contested language. The disputed language appears to be

  attached to subsection 17C, which begins: “I read this Stipulation without assistance because I

  am capable of reading and understanding Spanish.” (Dkt. 30-5 at 5). Hernandez, however,

  checked only subsection 17A, which states: “This Stipulation was read to me in Spanish, a

  language that I fully understand.” (Id. at 6). The Government’s only support for the conclusion



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  that the knowing and voluntary language applies to the entirety of paragraph 17 and was adopted

  by Hernandez is an immigration officer’s sworn statement that he “read this Stipulation to the

  respondent in its entirety in the Spanish language.”      (Dkt. 30-5).   It is the Government’s

  responsibility to account for ambiguities, Davis, 714 F.3d at 814–15, and the immigration

  officer’s statement alone does not persuade the Court that language seemingly attached to a

  subsection not selected by Hernandez should be construed as something he heard and adopted.

         While the stipulation’s failure to comport with 8 C.F.R. §1003.25(b)(6) may not alone be

  sufficient to invalidate the waiver, 2 it undermines the Government’s argument that the IJ made

  an implicit finding that Hernandez’s waiver was knowing and voluntary. In Cordova-Soto, the

  defendant spoke fluent English, sought advice from an attorney, and there were no noted

  deficiencies in the waiver’s language. 804 F.3d at 720–22. Under those circumstances, the Fifth

  Circuit could infer that the IJ made an implicit finding that the defendant’s waiver was knowing

  and voluntary.

         Here, by contrast, the IJ granted the motion for a stipulated removal order based solely on

  “the evidence submitted with the Motion” and “the respondent’s admission of the factual

  allegations and the concession to the charges.” (Dkt. 30-7). Unlike the defendant in Cordova-

  Soto, there is no evidence Hernandez has spent a significant amount of time in the United States

  and no indication that he speaks or understands English. In fact, the record suggests that

  Hernandez is unable to read Spanish, as he did not check the box on the stipulation form

  indicating that he is capable of reading Spanish. (Dkt. 30-5). Additionally, there is no evidence

  that Hernandez received any advice from counsel.        Coupled with the waiver’s previously-



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         See Bowens v. N.C. Dept. of Human Resources, 710 F.2d 1015, 1019 (4th Cir. 1983)
  (“An agency’s violation of its regulations is not unconstitutional unless the regulations are
  necessary to afford due process.”)
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  discussed ambiguities, these facts do not support the conclusion that the IJ made an implicit

  finding that Hernandez’s waiver was knowing and voluntary.

         The Fourth Circuit requires, inter alia, that a non-citizen facing deportation receive “a

  fair opportunity to be heard.” El Shami, 434 F.3d at 665. In 8 U.S.C. § 1362, Congress codified

  the due process right to counsel “in any removal proceedings before an immigration judge,” and

  a waiver of a due process right must be a “knowing, intelligent act done with sufficient

  awareness of the relevant circumstances.” Iowa, 541 U.S. at 81 (2004). Accordingly, where

  there is no knowing, intelligent waiver of due process rights, a non-citizen is not only deprived of

  his due process right to counsel, but may be stripped of a fair opportunity to be heard. Because

  the IJ failed to make either an explicit or an implicit determination regarding a knowing and

  voluntary waiver, the Court must look to the facts of this case to determine whether Hernandez’s

  waiver nonetheless met due process requirements.

         The facts here are in stark contrast to those in Cordova-Soto as well as Lopez, where the

  defendant had been in the United States since the age of five, was educated, and the IJ explicitly

  found he had “entered his request voluntarily, knowingly, and intelligently.” 84 F.Supp.3d 482,

  487. Hernandez’s educational and cultural background, the ambiguities of the stipulation, the

  evidence indicating that Hernandez initially refused the waiver, and the IJ’s failure to observe the

  regulations do not support a finding that Hernandez’s waiver was knowing and voluntary. The

  Court emphasizes that this is a fact-specific inquiry, and one of these elements alone may not be

  sufficient to demonstrate a violation of due process. However, the record before the Court,

  coupled with the IJ’s regulatory violation, supports a finding that Hernandez has met the

  requirements of the due process prong of fundamental unfairness. El Shami, 434 F.3d at 664.

  Thus, the Court will turn to the actual prejudice inquiry.



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               ii.    Prejudice

         To “establish fundamental unfairness under § 1326(d),” a defendant “must show that he

  suffered actual prejudice as a result of the due process violations in the removal proceedings.”

  United States v. Lopez-Collazo, 824 F.3d 453, 462 (4th Cir. 2016) (internal emphasis and citations

  omitted). To meet the actual prejudice requirement, the defendant “must demonstrate ‘that, but for

  the errors complained of, there was a reasonable probability that he would not have been deported.’”

  Id. (quoting El Shami, 434 F.3d at 665). “[T]his is not a generalized showing of prejudice; rather,

  the defendant must link the actual prejudice he claims to have suffered to the specific due process

  violation at issue.” Id. Here, Hernandez argues that, but for the violation of his due process rights,

  he would have established his eligibility for relief under 8 U.S.C. § 1229c(a), a provision providing

  for pre-conclusion voluntary departure. (Dkt. 35 at 6).

          Pre-conclusion voluntary departure “allows an alien charged with removability to depart the

  country voluntarily prior to the completion of removability proceedings, pursuant to 8 U.S.C. §

  1229c(a)(1).” Narine v. Holder, 559 F.3d 246, 248 n. 1 (4th Cir. 2009). Pursuant to 8 C.F.R. §

  1240.26(b)(1)(i), a non-citizen may be granted pre-conclusion voluntary departure if: (1) the request

  is made “prior to or at the master calendar hearing at which the case is initially calendared for a

  merits hearing;” (2) he makes no additional requests for relief, or withdraws any previous requests;

  (3) concedes removability; (4) waives appeal of all issues; and (5) has not been convicted of an

  aggravated felony. “To receive pre-conclusion voluntary departure, an alien need not show good

  moral character or that he has the financial means to depart.” United States v. Itehua, No. 3:17-cr-

  119, 2018 WL 1470250, *2 (E.D. Va. March 26, 2018) (citing Arguelles-Campos, 22 I. & N. Dec.

  811, 813 (BIA 1999)). Voluntary departure will be at the non-citizen’s own expense and is not

  available if the individual has previously been permitted to depart voluntarily or is not deportable due

  to participation in terrorist activities. See 8 U.S.C. § 1229c; 8 C.F.R. § 1240.26(b)(1)(i). Ultimately,

  the IJ must exercise his discretion in deciding whether to grant pre-conclusion voluntary departure.
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  Argeulles-Campos, 22 I. & N. Dec. at 817. “[D]iscretion may be favorably exercised in the face of

  adverse factors where there are compensating elements.” Id.

          Hernandez argues that, but for the due process violation, he would have been able to establish

  his eligibility for pre-conclusion voluntary departure. Hernandez could have easily made a request

  before or during the master calendar hearing, refrained from making additional requests for relief,

  conceded his removability, and waived appeal of all issues. Hernandez’s conviction of simple

  possession is not an aggravated felony, and thus there is no evidence that, at the relevant time period,

  he had any prior convictions that would have made him ineligible for consideration.

          Pursuant to 8 C.F.R. § 1240.26(b)(1)(i), Hernandez could have requested pre-conclusion

  voluntary departure at or before a hearing in front of an IJ. In fact, the notice to appear Hernandez

  received indicated that if he appeared before an IJ, he would be “advised by the immigration judge . .

  . of any relief from removal for which [he] appear[ed] to be eligible including the privilege of

  departure voluntarily.”    (Dkt. 30-4 at 2).   Thus, if not for the stipulation order, Hernandez would

  have had a hearing in front of an IJ, and, according to the notice to appear, would have been

  informed of the possibility of voluntary departure. Similarly, had Hernandez had counsel, he likely

  would have been advised of the opportunity to apply for this relief prior to that hearing.            If

  Hernandez had been aware of, and provided with the opportunity to, apply for pre-conclusion

  voluntary departure, it is reasonably probable he would have qualified because he meets the

  foundational requirements set forth in 8 U.S.C. § 1229c(a). See Itehua, 2018 WL 1470250, at *4

  (noting that if the defendant “had the opportunity to apply for pre-conclusion voluntary departure, he

  likely would have qualified because he had no aggravated felony convictions and did not pose a

  threat to national security”).




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         Although the Government has challenged Hernandez’s eligibility for post-conclusion

  departure, 3 the Government has not presented any evidence that successfully disputes Hernandez’s

  contentions regarding his eligibility for pre-conclusion departure. Accordingly, the Court finds that

  Hernandez has satisfied § 1326(d)’s fundamental unfairness requirement by showing that “(1) his

  due process rights were violated by defects in his underlying deportation proceeding, and (2) he

  suffered prejudice as a result of the defects.” El Shami, 434 F.3d at 664.

         2. Exhaustion and Judicial Review

         Hernandez claims that, because his wavier of rights was invalid and he can make the

  requisite showing of fundamental unfairness, he necessarily satisfies the remaining requirements

  of § 1326(d).     Specifically, Hernandez contends that he is excused from the exhaustion

  requirement, arguing that, due to his invalid waiver, he was unaware of the availability of

  voluntary departure, and thus could not appeal its denial. (Dkt. 30 at 11). Similarly, Hernandez

  claims the invalid waiver resulted in the denial of judicial review.

         An invalid waiver of the right to appeal deprives an alien of judicial review, and

  similarly, an invalid waiver excuses the alien from exhausting any administrative remedies.

  Mendoza Lopez, 481 U.S. 828, 840; see also United States v. Ortiz, 488 F. App’x 717, 718 (4th

  Cir. 2012). (“Courts have generally held that the exhaustion requirement of § 1326(d)(1) must be

  excused where an alien's failure to exhaust results from an invalid waiver of the right to an

  administrative appeal.”) (internal quotations, citations, and alterations omitted). “The Supreme

  Court [has] held that an immigration judge’s failure to advise the alien of his right to apply for

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          Post-conclusion voluntary departure requires a greater showing by the defendant. In
  order to be eligible, the non-citizen must show: (a) physical presence in the United States for at
  least a year prior to the date of the notice to appear; (b) good moral character for at least five
  years preceding the application; (c) no convictions of an aggravated felony or criminal activity
  that would endanger national security; and (d) that he has means to depart the United States. See
  8 U.S.C. § 1229c. Whether or not Hernandez could meet this burden is immaterial, because the
  Court finds it is reasonably probable he would have qualified for pre-conclusion departure.
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  [alternative relief] and to ensure that the alien’s waiver of his right to appeal the deportation

  order constituted a complete deprivation of administrative and judicial review within the

  meaning of section 1326(d).” El Shami, 434 F.3d at 664 (citing Mendoza-Lopez, 481 U.S. at

  840).

          Here, the Court has determined that Hernandez’s waiver of rights was invalid and

  fundamentally unfair under § 1326(d). This invalid waiver prevented Hernandez’s appearance

  before an IJ, precluding him from exercising his right to administrative and judicial review.

  Thus, Hernandez satisfies all three requirements for a collateral attack under § 1326(d), and his

  “illegal reentry charge must be dismissed as a matter of law.” Id. at 665. Accordingly, the Court

  will grant Hernandez’s first motion to dismiss the indictment.

          B.     Hernandez’s Second Motion to Dismiss Indictment

          In his second motion to dismiss the indictment, Hernandez contends that the indictment

  should be dismissed under Pereira v. Sessions, 138 S.Ct. 2105 (2018) because the notice to

  appear he initially received prior to his deportation did not contain the time and date of the

  removal hearing. (Dkt. 37). Hernandez contends that these supposed deficiencies in the notice

  to appear mean that subject matter jurisdiction never vested in the immigration court, rendering

  the entire deportation proceeding void ab initio. This Court has previously considered and

  rejected similar arguments in other illegal reentry cases, and appeals of some of these rulings are

  presently pending before the Fourth Circuit. See, e.g., United States v. Ramos-Delcid, No. 3:18-

  cr-00020, 2018 WL 5833081, at *3–5 (W.D. Va. Nov. 7, 2018); United States v. Saravia-

  Chavez, 349 F.Supp.3d 526, 531–33 (W.D. Va. 2018).               Because the Court will grant




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  Hernandez’s first motion to dismiss the indictment, Hernandez’s second motion to dismiss the

  indictment will be denied as moot. 4

                                             IV.    CONCLUSION

          For the foregoing reasons, Hernandez’s first motion to dismiss the indictment will be granted.

  Hernandez’s second motion to dismiss the indictment will be denied as moot. An appropriate order

  will issue.

          Entered this 18th
                       ____ day of April, 2019.




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         Although the Court will deny the second motion to dismiss as moot, it nonetheless notes
  that even if it accepted Defendant’s new arguments in favor of holding that notices to appear
  issued to non-citizens must contain the time, place, and date of the removal hearing, such a
  holding would not necessarily have formal subject matter jurisdiction implications for the
  immigration court. See, e.g., United States v. Vasquez-Flores, __ F.Supp.3d __, 2019 WL
  332414, at *6 (W.D. Va. 2019); United States v. Rivera Lopez, 355 F.Supp.3d 428, 438–39 (E.D.
  Va. 2018).
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